
374 So.2d 898 (1979)
Ex parte William Herbert ORR.
(In re William Herbert Orr v. Lillian M. Orr.)
78-694.
Supreme Court of Alabama.
August 17, 1979.
John L. Capell, III of Capell, Howard, Knabe &amp; Cobbs, Montgomery, for petitioner.
No brief for respondent.
SHORES, Justice.
Writ denied.
BLOODWORTH, MADDOX and FAULKNER, JJ., concur.
JONES, J., concurs specially.
ALMON, EMBRY and BEATTY, JJ., dissent.
TORBERT, C. J., recuses.
JONES, Justice (concurring specially):
My original inclination was to agree with the result reached by the minority to grant the writ of certiorari. While I agree with the Court of Civil Appeals in holding that, under the mandate of the United States Supreme Court's opinion in Orr v. Orr, 440 U.S. 268, 99 S.Ct. 1102, 59 L.Ed. 306 (1979), the Alabama alimony statute may be so interpreted as to render it constitutional, I have difficulty with the retrospective application aspect of the opinion. But this Court has recently spoken to this precise issue in Everage v. Gibson, 372 So.2d 829 (Ala.1979). Having expressed my view in a rather lengthy dissenting opinion in Everage, I now yield to the majority and join my fellow Justices in denying the writ in the instant case.
It is worthy of note that the legislative void referred to the Court of Civil Appeals' opinion has been filled by Act No. 486, Regular Session 1979. See, also, 82 C.J.S. Statutes § 414 (1953).
EMBRY, Justice (dissenting):
I respectfully dissent for the reasons expressed in my special concurring opinion in 78-245 Ex parte Gartman (In re Gartman v. Gartman), [Ms. August 17, 1979].
ALMON and BEATTY, JJ., concur.
